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 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK

 In re:
                                                                                 Case Nos.
 CENTERSTONE LINEN SERVICES,LLC,                                                 18-31754(main case)
 ATLAS HEALTH CARE LINEN SERVICES CO., LLC,                                      18-31753
 ALLIANCE LAUNDRY &TEXTILE SERVICE,LLC,                                          18-31755
 ALLIANCE LAUNDRY AND TEXTILE SERVICE OF                                         18-31756
 ATLANTA,LLC,and
 ALLIANCE LTS WINCHESTER,LLC                                                     18-31757
 d/b/a Clarus Linen Systems',
                                                                                 Chapter 11 Cases
                                                      Debtors.                   Jointly Administered




                          NOTICE OF ASSUMPTION AND ASSIGNMENT

PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.     On March 20, 2019, the United States Bankruptcy Court for the Northern District
 of New York (the "Bankruptcy Court") entered an order (the "Biddies Procedures Order"),Z
 approving, among other things, the fixing of cure amounts (the "Cure Amounts") related to the
 potential assumption, assignment and/or transfer by debtors Centerstone Linen Services, LLC
 d/b/a Clarus Linen Systems and Atlas Health Care Linen Services Co., LLC, d/b/a Clarus Linen
 Systems (collectively, the "Debtors") of certain executory contracts, unexpired leases, and other
 agreements (the "Assigned Contracts") listed on Exhibit A annexed hereto in connection with
 the proposed sale of substantially all of the Debtors' assets located at 60 Grider Street, Buffalo,
 New York 14215 (the "Buffalo Assets") and 414 West Taylor Street, Syracuse, New York 13202
(the "Syracuse Assets") (collectively, the "Purchased Assets"). The Debtors intend to assume,
 assign, or transfer some or all of the Assigned Contracts to the Successful Bidder or Backup
 Bidder for the Purchased Assets as determined pursuant to the bidding procedures (the "Biddin
 Procedures") approved by the Bankruptcy Court and attached to the Bidding Procedures Order as
 Schedule 1.




 I The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, are: Centerstone Linen Services, LLC d/b/a Clarus Linen Systems (5594)("Centerstone"); Atlas Health
 Care Linen Services Co., LLC d/b/a Clarus Linen Systems (2681)("Atlas"); Alliance Laundry &Textile Service,
 LLC d/b/a Clarus Linen Systems (8284)("Alliance"); Alliance Laundry and Textile Service of Atlanta, LLC d/b/a
 Clarus Linen Systems (4065)("Atlanta"); and Alliance LTS Winchester, LLC d/b/a Clarus Linen Systems (0892)
("Winchester").

2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
Procedures Order.
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       2.      The Debtors believe that any and all defaults (other than the filing of these
 Chapter 11 Cases) and actual pecuniary losses under the Assigned Contracts can be cured by the
 payment ofthe Cure Amounts listed on Exhibit A annexed hereto.

        3.      Any objections to (i) the assumption, assignment or transfer of an Assigned
 Contract, or (ii) the amount asserted as the Cure Amount (each, a "Cure Amount/Assi nment
 Objection"), must be in writing and set forth with specificity the nature of the objection and the
 cure amount that the objecting party believes should be paid in connection with the assumption
 of the Assigned Contract (the "Claimed Cure Amount"). In addition, if the Debtors identify
 additional Assigned Contracts that might be assumed by the Debtors and assigned to the
 Successful Bidders) or Backup Bidders) which are not set forth in this Notice of Assumption
 and Assignment, the Debtors shall promptly send a supplemental notice (a "Supplemental Notice
 of Assumption and Assignment") to the applicable counterparties to such additional Assigned
 Contracts.

        4.      To be considered a timely Cure Amount/Assignment Objection, a Cure
 Amount/Assignment Objection must be filed with the Bankruptcy Court and served upon
(i) counsel for the Debtors; (ii) the Office of the United States Trustee for the Northern District
 of New York; (iii) counsel for HSBC Bank;(iv) counsel for the Purchaser; and (v) counsel for
 the Official Committee of Unsecured Creditors, by the later of (a)4:00 p.m. (prevailing
 Eastern time) on April 3, 2019 or (b) five (5) days after service of the relevant Supplemental
 Notice of Assumption and Assignment.

        5.      If a Cure Amount/Assignment Objection is timely filed, the Debtors may resolve
any Cure Amount/Assignment Objection by mutual agreement with the objecting counterparty to
any Assigned Contract without further order of the Court. The Debtors may also file a written
response to the Cure Amount/Assignment Objection with the Bankruptcy Court no later than
4:00 p.m.(prevailing Eastern time) on April 10, 2019. In the event that the Debtors and any
objecting party are unable to consensually resolve any Cure Amount/Assignment Objection, the
Bankruptcy Court will resolve any such Cure Amount/Assignment Objection at a hearing to be
held at 1:00 p.m. (prevailing Eastern time) on April 17, 2019 (the "Sale Hearing") or such
later date as the Court may determine.

        6.     In the event that an Auction for the Purchased Assets is held on April 15, 2019,
immediately following the conclusion of the Auction, the Debtors shall serve (i) a notice
identifying the Successful Bidders) and Backup Bidder(s), and (ii) contact information for
Debtors' counsel from whom financial information concerning the Successful Bidder(s)' and
Backup Bidder(s)' ability to provide adequate assurance of future performance of such Assigned
Contracts may be obtained, to the non-debtor parties to the Assigned Contracts that have been
identified as the Purchased Assets, the Buffalo Assets or the Syracuse Assets to be sold or
assigned in connection with such Successful Bids) and Backup Bid(s). The non-debtor parties
to the Assigned Contracts will have until 9:00 a.m. (prevailing Eastern Time) en April 17,
2019 (the "Adequate Assurance Objection Deadline") to file a written objection to the
assumption, assignment or transfer of such Assigned Contract solely on the issue of whether the
Successful Bidders) and/or Backup Bidders) can provide adequate assurance of future
performance as required by section 365 of the Bankruptcy Code. Any such objections shall be
heard at the Sale Hearing.

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        7.      Unless a Cure Amount/Assignment Objection is timely filed and served, the
assumption, assignment and/or transfer of the Assigned Contracts may proceed without further
notice to counterparties to the Assigned Contracts.

        8.     Parties that fail to file and serve timely Cure Amount/Assignment Objections
shall be deemed to have waived and released any and all rights to assert against the Debtors, the
Successful Bidders) or Backup Bidders) cure amounts different from the Cure Amounts listed
on Exhibit A hereto and shall be forever barred and estopped from asserting or claiming against
the Debtors, the Successful Bidders) or Backup Bidder(s), or any assignee of any Assigned
Contract that any additional amounts are due or defaults exist, or prohibitions or conditions to
assignment exist or must be satisfied, under such Assigned Contract.

       9.      To the extent that a Cure Amount/Assignment Objection remains unresolved as of
the Bid Deadline, and the Bankruptcy Court subsequently determines that the Cure Amount for
the subject Assigned Contract is greater than that set forth in the Cure Amounts identified on
Exhibit A hereto, the Successful Bidders) or Backup Bidders) may elect to reclassify such
Assigned Contract as an Excluded Agreement at any time prior to the earlier to occur of the
Closing or the day that is five (5) business days following such determination by the Bankruptcy
Court.

       10.    The Successful Bidders) or the Backup Bidder(s), as the case may be, may
determine to exclude any Assigned Contract from the Purchased Assets, the Buffalo Assets or
the Syracuse Assets to be assumed and sold or assigned at any time prior to the Sale Hearing.
The non-debtor party or parties to any such excluded contract or lease will be notified of such
exclusion by written notice mailed within three (3) business days following the conclusion of the
Sale Hearing.

        1 1.   If no Cure Amounts are due under an Assigned Contract, or the non-debtor party
to the Assigned Contract does not otherwise object to the Debtors' assumption, assignment
and/or transfer of the Assigned Contract, no further action needs to be taken on the part of that
non-debtor party.

       12.    The Debtors' decision to sell, assign and/or transfer to the Successful Bidders) or
Backup Bidders) the Assigned Contracts is subject to Bankruptcy Court approval and the
closing of the sale of the Purchased Assets, the Buffalo Assets or the Syracuse Assets.
Accordingly, absent such closing, none of the Assigned Contracts shall be deemed to be
assumed, sold, assigned and/or transferred, and shall in all respects be subject to further
administration under the Bankruptcy Code. The inclusion of any document on the list of
Assigned Contracts shall not constitute or be deemed to be a determination or admission that
such document is, in fact, an executory contract or unexpired lease within the meaning of the
Bankruptcy Code (all rights with respect thereto being expressly reserved).

        13.     This notice is subject to the fuller terms and conditions of the Bidding Procedures
Order which shall control in the event of any conflict and the Debtors encourage parties in
interest to review that document in its entirety. Parties interested in receiving more information
regarding the sale of the Purchased Assets, the Buffalo Assets or the Syracuse Assets or in
obtaining a copy of the Bidding Procedures Order may make a written request to counsel to the

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Debtors. In addition, copies of the Bidding Procedures Order and this notice can be found on the
Bankruptcy Court's electronic case management website, http://ecf.nywb.uscourts.~ov and are
on file with the Clerk of the Bankruptcy Court.



Dated: March 20, 2019
       Syracuse, New York                   BOND,SCHOENECK &KING,PLLC



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                                            Camille W. Hill, Bar Roll No. 501876
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                                            Counsel to the Debtors and Debtors in
                                            Possession




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                                                 Exhibit A

                                      Potential Assigned Contracts

Non-Debtor Contract Party                                                           Cure Amount

60 Grider, LLC (real property lease for facility located
at 60 Grider Street, Buffalo, NY)                                                   Waived by lessor

60 Grider, LLC (equipment lease for equipment located
at 60 Grider Street, Buffalo, NY)                                                   Waived by lessor

Altus Management, LLC (Linen Service Agreement)                                     $       0.001

Collective Bargaining Agreement with International Union
of Operating Engineers —Local 17-175 AFL-CIO                                        $       0.00

Collective Bargaining Agreement with Rochester Regional
Joint Board — Loca151                                                               $       0.00

Collective Bargaining Agreement with Teamsters Local 294                            $       0.00

Collective Bargaining Agreement with Rochester Regional
Joint Board —Syracuse Workers United Affiliate of SEIU-
Loca12607                                                                           $       0.00

Collective Bargaining Agreement with Teamsters Local 182                            $       0.00

Commercial Trailer Leasing, Inc.(truck and trailer leases)                          $22,253.58

Energy Mark, LLC (Buffalo utility contract)                                         $       0.00

Energy Mark, LLC (Syracuse utility contract)                                         $15,909.17

Ingersoll Rand,Inc.(Buffalo compressor contract)                                    $ 6,665.32

IPA One/Med One (scrub locker lease)                                                $       0.00

Penske Truck Leasing Co., LP (truck and trailer leases)                              $10,641.34

Ryder Truck Rental, Inc.(truck and trailer leases)                                   $45,396.54

Skyline Dynamics, LLC (Syracuse bailing machine and plastics
recycling contract)                                                                  $      0.00

                                                                                                     the
'Altus Management LLC alleges accrued administrative fees of $542,454.00. This amount is disputed by
Debtors.

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Streamline Solutions, LLC (Syracuse plastics provider contract)   $     0.00

Total Utility Management Services, LLC (utility consulting)       $ 9,870.97

Vitec Solutions, LLC (information technology support contract)    $     0.00

Vaspian LLC (telephone system)                                    $ 2,249.54




                                                                               3308211.3
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                           Customer Contract                            Plant          Star# Date Expiration Date Cure Amount
~
~ ACH Scrubs &Lab Coats                                           'Syracuse ', 5/19/2014,                5/19/2019'   $0.00
   ACH Sleep Lab                                                      Syracuse          5/19/Z014        5J19/2019    $0.00
   Aid to Hospitals, INC                                              Syracuse '                                      $0.00
   Albany County Correctional Facility                                Syracuse          10J3/2013       12/31/2019    $0.00
', Albany County Nursing Home                                      .:Syracuse ',         5/1/2015       12/31/2020    $0.00
   Anthone Eye Center                                                 Syracuse                                        $0.00
' Arthritis Center of Rochester                                    ;Syracuse                       '                  $0.00
   Arthritis Health Association                                       Syracuse                                        $0.00
   Associated Gastroenterologists of CNY                          ',Syracuse 10/29/2010';               10/29/20151   $0.00
    Auburn Cardiology                                                Syracuse           5/19/2054        5/19/2019    $0.00
    Auburn Community Hospital                                     (Syracuse             5/19/2014'.:     5/19/2019€   $0.00
    A uburn family Care                                               Syracuse          5/19/201G        SJ19/2019    $0.00
'Baird Nursing Home                                               'Syracuse                                           $0.00
    BGMC Direct Sale                                                  Bu#falo           8/13/2010        8/13/2025    $0.00
 `: Blooming Grove Veternary Hospital                              ..Syracuse , 4/14/2007                4/14/2009?   $0.00
    Brookdale   Bassett  Park                                         Syracuse                                        $0.00
    Brooks Memorial     Hospital                                  'Buffalo              8/13/2010'       8/13/20251   $0.00
    B uffalo General Medical Center                                   Buffalo           8/13J2010        8/13/2025    $0.00
   Camillus Family Health Associates                              '.Syracuse                       '                  $0.00
    Cardiology Associated of Northern New York                        Syracuse                                        $0.00
'Carthage area Hospital                                            '..Syracuse          4/26/2015',      4/26/2018E   $0.00
    CFH Direct Sale                                                   Syracuse          3/37/2014        3/17/2019    $0.00
   CH Clinics                                                         Syracuse '         2/1/2016'       1/31/2020'   $0.00
    Chase Memorial Nursing Home                                       Syracuse                            6J1/2008    $0.00
'City Center Massage                                               ',Syracuse                                         $0.00
   Clifton-Fine   Hospital                                            Syracuse          3/17/2014        3J11/2019    $0.00
 = CM H   Spa  Robe                                                   Syracuse  I        5/1/2014;       4/30/20191   $0.00
    CNY Cardiology                                                    Syracuse           3/8/2030        4/30/2022    $0.00
   College at Brockport Student Health Center                       iSyracuse                       ' ,             i $0.00
   Community Memorial Hospital                                        Syracuse           1/1/2013       12/31/2017    $0.00
= Compassionate Family Medicine                                       Syracuse                      ' ,             i $0.00
   Comprehensive Rehabi3itation and Nursing Center at Williamsville Buffalo                                           $0.00
   Confidence Management Systems (Saratoga)                        ,Syracuse            11/1/2016       10/31/2019    $0.00
   Cross Keys Medical Group                                           Syracuse                                        $0.00
:Crouse Hospital                                                   'Syracuse            2/22/2008',       1/1/20207   $0.00
   CSHC Lab Coats/Scrubs/Specials                                     Syracuse          3/17/2Q14        3/17/2Q19    $0.00
   Cullen,   Francis MD                                            'Syracuse                                        E $0.00
   DeGraff Memorial Hospital                                          Buffalo           8/13/2010        8/13/202.5   $0.00
j Dermatology Associates of Central NY                             (Syracuse     ' ,                                  $0.00
   Dermatology Associates of Rochester                                Syracuse                            4/S/2014    $0.00
   DMH Direct Sale                                                 '; Buffalo    ' ,    8/13/2010',      8/13/2025°   $0.00
   Eastern Niagara Health System                                      Suffalo          11/14/2016       11/14/2019    $0.00
   ECMC Terrace View Long-Term Care                                   Buffalo   '; 8/13/2010..           8/13/2025,   $0.00
   ECMC N LTC Direct Sale                                             Buffalo           8J13/2010        8/13/2025    $0.00
i ELL Bellevue Women's Center                                         Syracuse          2/10/2014',      2/10/2019>   $0.00
   ELL Medical Center Ci(fton Park                                    Syracuse          2/10/2014        2J10/2019    $0.00
   Ellis Health  Center  -McClellan                                   Syracuse     ' ,  2/10/2014'       2/10/2019'   $0.00
   Ellis Hospital                                                     Syracuse          2/10/2014        2J10J2Q19    $0.00
= Ellis Medicine-Care Team 5                                        '
                                                                    . Syracuse          2/10/2014.       2/10/2019    $0.00
   Elmwood Pediatric Group LlP                                        Syracuse          3/28/2012         3/1/2017    $0.00
   Emeritus Clinics                                                'Syracuse                                        ' $0.00
   E mpire Education Corporation                                      Syracuse                                        $0.00
' ENHS Family Practice                                                Syracuse ', 11/14/20161           11/14/2019    $0.00
   E NNS Imaging Center                                               Syracuse 11/14/2015               11/14J2019    $0.00
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   ENHS Newfane                                             Syracuse 11/14/2016 '           11/14/2019      $0.00
   ENHS Surgery Center                                      Syracuse 11/14J2016             11/14/2019      $0.00
   Erie County Medical Center                               Buffalo ' 8/13/2010:             8/13/2025      $0.00
   Fawn Ridge Senior Living                                 Syracuse     #N/A                #N/A           $0.00
!Paxton-St. Luke's Healthcare                             '.:Syracuse    #N/A                #N/A           $0.00
   Finger Lakes Cardiology Associates -Canandaigua          Syracuse     #N/A                #N/A           $0.00
'Finger Lakes Cardiology Associates -Clifton Springs      '.Syracuse I   #N/A     '          #N/A           $0.00
  finger i.akes DDSO Canandaigua Day Program                Syracuse     #N/A                #N/A           $0.00
= Finger Lakes DDSO East Henrietta Day Program            ,Syracuse
                                                          '              #N/A                #N/A           $0.00
   finger Lakes DDSO Geneva Day Program                     Syracuse     #N/A                #NJA           $0.00
!Finger Lakes DDSO Metro Park                               Syracuse ',  #N/A                #N/A           $0.00
  finger Lakes DDSO Parkside Commons                        Syracuse     #N/A                #N/A           $0.00
 F Finger Lakes DDSO Tymeson Day Program                  ;Syracuse '    #N/A      ',        #N/A       ~   $0.00
  finger Lakes Office of Alternative Therapies              Syracuse    2/22/2017              2/1/2022     $0.00
~ FingerLakes Otolaryngology                              'Syracuse     2/22/2017              2/1/2022?    $0.00
  Flihan, Donald A. DDS, MD                                 Syracuse            #N/A         #N/A           $0.00
:Fox & Schingo Plastic Surgery                            ',Syracuse    ',      #N/A         #N/A       i   $0.00
 Genesee Vascular lab, Inc.                                 Syracuse            #N/A         #N/A           $0.00
 Genewick, Tiffany MD                                     '.Syracuse    '     9/27/2016',     8/27/2018     $0.00
 Glenville Primary Care                                     Syracuse          2/10/2014       2/10/2019     $0.00
 Gowanda Urgent Care &Medical Center                        Buffalo     '     8/13/2010,      8/13/20251    $0.00
 Great Lakes Pysicians, PC -Cheektowaga                     Syracuse           $/1/2016       9/30J2019     $0.00
 Great Lakes Pysicians, PC -Sanborn                       ,Syracuse             #N/A         #N/A       ,   $0.00
  Greene &Miller Dentistry                                  Syracuse          2/1Oj2014       2J10/2019     $0.00
  Greene Meadows Direct Sale                                Buffalo     '     8/13/2010'      8/13/20251    $0.00
  Greene Meadows 1Vursing &Rehab Center                     Syracuse           8/1J2016      9/30J2019      $0.00
i Helendale Dermatology &Medical Spa                      'Syracuse      ',     #N/A        #N/A            $0.00
   Hillside Family of Agencies                              Syracuse            #NJA        #fVJA           $0.00
   H udson Park Rehabilitation and Nursing Center           Syracuse           3/1/2014'      3/1/2019]     $0.00
   H udson Valley Community College                        Tray       7J1J2016                5/1/2021      $0.00
.' Hyatt Regency Buffalo Hotel and Conference Center      (Buffalo '           '                            $0.00
  I nnovative Physical Therapy Solutions                   Syracuse  2/27/2012               7J31J2014      $0.00
~ Interlakes Oncology &Hematology                         ;Syracuse    #N/A                 #N/A       i    $0.00
  Jewish Home of Central New York                          Troy       3/1/2014                3/1/2019      $0.00
:John R. Oisehi Children's Hospital                       ,Buffalo   8/13/2010':             8/13/2025      $0.00
  Kaleida Health Contract Labor                            Buffalo   SJ13J20i0              8/13/2025       $0.00
F Karpinski & Karpinski - Karpinski, Paul A DDS           ',Syracuse  9/1/2013'              8/31/2014      $0.00
  Kenmore Mercy Hospital                                   Bufifalo           8/13/2010      8/13/2025      $0.00
  KHS BGMC Family Planning Center                         '.Syracuse           1/1/2010'      1/1/2025;     $0.00
  KHS Diabetes-Endocrinology Center of WNY                   Syracuse         1/1/2010        1/1/2025      $0.00
' KHS Hertel Elmwood Internal Medicine Center             ;Syracuse      '   8/13/2010'      8/13/2025'°    $0.00
  iCHS MSFH dint Rehab #20945                                Syracuse        8/13/2010       8/13J2025      $0.00
  KHS Ralph C Wilson Jr Adult Day Services                'Syracuse      ', 8/13/2010;       8/13/2025F     $0.00
  KNS Towne Garden Pediatrics                                Syracuse         1J1J2010        1/1/2025      $0.00
` KMH McAuley Residence Nursing Home                         Buffalo         8/13/2010j~     8/13/2025      $0.00
   Knibbs, Malinda LMT                                       Syracuse        6/24/2014       6J24/2018      $0.00
   Laboratory Al l iance of CNY, LLC -Crouse RRL          ',Syracuse     ', 10/14/2011:     10/14/2014      $0.00
   Laboratory ANiance of CNY, LLC - Liverpool                Syracuse    #N/A                #NJA           $0.00
', Laboratory Al l iance of CNY, LLC -North Med Ctr PSC   .: Syracuse   5/1/2009;             4/30/2014;    $0.00
 Laboratory Alliance of CNY, LLC - S1NHC PSC                 Buffalo   8/13/2010              8J13/2025     $0.00
 Laboratory Al l iance of CNY, LLC - SJHHC RRL            ''Syracuse'    #N/A     '          #N/A           $0.00
 Laboratory Alliance of CNY, LLC - UUH CC POB              Buffalo     8/13/2010              8/13/2025      $0.00
 Laboratory Al l iance of CNY, LLC - UUH CC RRL           ;Syracuse ',  1/1/2010'.:            1/1/2025;     $0.00
 Lake Shore Health Care Center                             Buffalo     8/13/2010              8/13/2025      $0.00
 Lakeshore Primary Care Associates                         Syracuse    8/13/2010              8/13/2025      $0.00
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      Loftus & Ryu, M D,PC                                   Syracuse         8/13J2010       8/13/2025      $0.00
  'LO R Advanced M eal                                    .Syracuse            7/1/2016'       7/1/2019!     $0.00
      LOR Churchill Manor, lnc.                              Syracuse          7Jl/2016        7/1/2019      $0.00
      LOR Commons on St. Anthony                          'Syracuse      ',    7/1/2016'       7/1/2019      $0.00
      LOR Daybreaklntrepid Lane                              Syracuse          7J1/2016        7/1/2019      $0.00
    , LOR NOl~1" Direct Sale                              .: Syracuse          7/1/2016'       7/1/2019      $0.00
      LOR NOTT Rugs                                          Syracuse          7/1/2016        7J1/2019      $0.00
      LOR Nottingham Senior Living Community              ,Syracuse     ',     7/1/2016,       7/1/2019      $0.00
      LOR PACE CNY -McAuliffe Health Center                  Syracuse          7/1/2016        7J1/2019      $0.00
      LOR PACE CNY -Sally Coyne Center for Independence   ',Syracuse    ',     7/1/2016',      7/1/2019      $0.00
     LOR Sedgwick Heights Assisted Living                    Syracuse          7/1/216         7/1/2019      $0.00
   ;Loretto Health &Rehabil itation Center                   Syracuse          7/1/2016'       7/1/2019E     $0.00
     Magnetic Diagnostic Resources of CNY                    Syracuse         8/13/2010       8/13/2025      $0.00
     Magnetic Diagnostic Resources of CNY -Camillus       '.Syracuse    ',     1/1/2010',      1/1/2025:     $0.00
     Meisner, Norman DDS                                     Buffalo          8/13J2010       8/13/2025      $0.00
     Mercy Hospital of Buffalo                               Buffalo          8/13/2010'..    8/13/20253     $0.00
     Merit tvledical Practice, PC                            Syracuse           #N/A         #N/A            $0.00
     M FSHDirectSale                                      'Buffalo            8/13/2010',     8/13/2025      $0.00
     M HoB Ambulatory Care Center                            Buffalo          $/13J2Q10       8J13/2025      $0.00
     M HoB Mercy Nursing Facility At OLV                  ;Buffalo            8/13/2010',     8/13/2025      $0.00
     M ill View Assisted Living Residence                    Syracuse           #f~J/A       #N/A            $0.00
     M i l lard Fillmore Suburban Hospital                (Buffalo            8/13/2010'.     8/13/20251     $0.00
     Mohawk Valley Endoscopy Center                          Syracuse           #tN/A        #NJA            $0.00
     Mount St. Mary's Hospital                            'Buffalo                                       ~   $0.00
     Mount St. Mary's Hospital                               Syracuse           #N/A         #N/A            $0.00
     Mount St. Mary's Hospital Hyperbaric                 '.Syracuse            #N/A         #N/A            $0.00
     MSMH Contract Labor                                     Syracuse           #N/A         #N/A            $0.00
   = MSMH Dietary                                         'Buffalo             7/9/2019',     7/31/2019      $0.00
     MSMH Our Lady of Peace Nursing Care Residence           Syracuse           #N/A         #N/A            $0.00
     Neighborhood Health Center - Blasdell                'Syracuse           4/13/2017',     4/13/2020!     $0.00
     Neighborhood Health Center - 1Vlattina                 Syracuse          4/13J2017       4/13/2020      $0.00
,Neighborhood Health Center- North West Buffalo              Syracuse         4/13/2017:      4/13/2020(     $0.00
     Neighborhood Health Center - Southtowns                 Syracuse         4/13/2017       4(13/2020      $0.00
  < Neurological Associates Albany                        ;Buffalo      ',    8/13/2010'      8/13/2025      $0.00
     New England laser &Cosmetic Surgery Center              Syracuse         5/10/2014       5/10/2019      $0.00
' New York Oncology Hematology, PC - ALMC                 'Syracuse     '~!   8/13/2010'      8/13/2025;     $0.00
     New York Oncology Hematology, PC - ALMC Stem Cell       Syracuse         9/26/2013       9J26/2018      $0.00
     New York Oncology Hematology, PC -Amsterdam          'Syracuse     ';    9/26/2013:      9/26/20181     $0.00
     New York Oncology Hematology, PC -Clifton Park          Syracuse         7/30J2009       7/30/2014      $0.00
 ', New York Oncology Hematology, PC -Hudson                 Syracuse   ',     7/1/2016        7/1/2019€     $0.00
     New York Oncology Hematology, PC - Patroan Creek       Syracuse           7/1/2016        7/1J2019      $0.00
     New York Oncology Hematology, PC -Rexford               Syracuse   '!     7/1/2016        7/1/2019      $0.00
    New York Oncology Hematology, PC -Troy                   Syracuse          7J1/2016        7/1/2019      $0.00
~ NFMMC Emergency Department                              _Buffalo      '     8~13~2010.      8~13~2025:~    $0.00
    Niagara Falls Memorial Medical Center                    Buffalo          8/13/2010       8/13/2025      $0.00
    North Coast Dental Group                                 Syracuse          7/1/2016',      7/1/2019E     $0.00
    North Country Qrthopaedics Group                         Syracuse          7/1J2016        7/1/2019      $0.00
= Northeast Orthodontic Associates                           Syracuse   ,      7/1/2016'       7/1/20191     $0.00
    Northern Litho & Uro Therapies, Inc.                     Syracuse          7/1J2016        7/1J2019      $0.00
+ Novelis Corporation                                        Syracuse          7/1/2016;       7/1/2019      $0.00
    NYSlD -Capital District Psychiatric Center               Syracuse         10J3/2013      11J30/2021      $0.00
~ NYSID - CNY Psychiatric Center                             Syracuse          7/1/2016'..     7/1/2019!     $0.00
    NYSID -Hudson Valley Community College                   Syracuse         10/3J2013      11J30/2021      $0.00
F NYSID CNY Psychiatric Center                            !Syracuse     '     10/3/2013;     11/30/2021      $0.00
    N Y51D Hutchings Psychiatric Center                     Syracuse          10/3J2013      11/30/2021      $0.00
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 NYSID Mohawk Valley Psychiatric Center - McPike Bldg         .:Syracuse ~              7/1/2016€       7/1/2019        $0.00
 N YSID Mohawk Valley Psychiatric Center - Pinefield 80        Syracuse                 1/7J2{313       1/7/2018        $0.00
 NYSID Mohawk Valley Psychiatric Center -Wright Bldg 30       :Syracuse 'I             10/3/2013',    11/30/2021'       $0.00
 N YSID Mohawk Valley Psychiatric Center Exchange Cart Fee     Syracuse                 #N/A          #NJA              $0.00
 NYSID NYS Department of Corrections Training Academy         'Syracuse '              10/3/2013      11/30/20211       $0.00
   NYS1D NYS Veteran's Nome at Batavia                         Syracuse                10/3/2013      11/30/2021        $0.00
 = NYSID Rochester Psychiatric Center                         '.Syracuse               10/3/2013',    11/30/2021        $0.00
 N YSID VET Direct Sale                                        Syracuse                10/3/2013      11/30/202?        $0.00
 O'Connor Medical Group                                        Buffalo      ',         8/13/2010'      8/13/2025        $0.00
 OH Behavioral Neaith Services                                 Syracuse                 1J1J2015        1/1/2020        $0.00
 OH Central Square Medical Center                             ',Syracuse '              1/1/2015';      1/1/20201       $0.00
  ON Direct Sale                                               Syracuse                 1/1/2015         1/1j2020       $0.00
i OH Fulton Medical Center                                    ',Syracuse „              1/1/2015',       1/1/2020`      $0.00
 OH MAN SH Ancillary                                           SyracusE                 1/1/2015         1/1/2020       $0.00
 OH Manor at Seneca Hi l l                                    '.Syracuse ',             1/1/2015.:.      1/1/20201      $0.00
 OH Operating Room                                             Syracuse                 1J1/2015         1/1/2020       $0.00
 E OH Scrubs                                                  ,Syracuse ',              1/1/2015'        1/1/2020€      $0.00
 Onondaga Hill Fire Department                                 Syracuse                 #N/A           J#N/A            $0.00
 OrthoSports Orthopedic, Sports, &Spine Therapy                Buffalo                 8/13/2010'      8/13/2025'       $0.00
 Oswego County Opportunities, Inc.                             Buffalo                 SJ13/2010       8/13/2025        $0.00
 Oswego County Urology, PC                                     Buffalo      ',         8/13/2010       8/13/2025        $0.00
 Oswego Hospital                                               Syracuse                 1/1/2015         1/1/2020       $0.00
 Paciorek Facial Plastic Surgery                              'Syracuse                 6/4/2012         6/4/2016(      $0.00
 Parkway Pediatric &Adolescent Medicine, LLC                   Buffalo                 8/13/2010       8/13J2Q25        $0.00
 Pediatric Cardiology, LLC                                    'Syracuse                8/17/2011',     8/17/2016,       $0.00
 Pittsford internal Medicine                                   Buffalo                  7/9/2013       7/31/2018        $0.00
 Planned Parenthood -Rochester Center                         'Syracuse ',             2/28/2017:      2/28/2021;       $0.00
 Planned Parenthood -Schenectady/Utica Center                  Buffalo                  7/9/2013       7/31/2018        $0.00
;Planned Parenthood -Syracuse Center                           Syracuse ',             2/23/2017',     2/23/2020        $0.00
 Planned Parenthood - V+lest Seneca                            Buffalo                                                  $0.00
:Pontiac Nursing Home                                         .:Buffalo      ',         7/9/2019',     7/31/2019        $0.00
 Port City Family Medicine, PC                                 Buffalo                  7/9/2013       7/31/2018        $0.00
f Radnet, inc.                                                '.Syracuse ' 4/13/2017                   4/13/2020#       $0.00
  Rejha Group                                                   Syracuse   4J13/2~17                   4/13/2020        $0.00
f RensselaerPolytechniclnstitute                               ,Syracuse ',            4/13/2017',     4/13/2020;       $0.00
 Ridgeview Internal Medicine                                   Syracuse                4/13/2017       4/13J2020        $0.00
 Riposo-Hackney, Laura K. LMT                                 :Syracuse                 #N/A           #N/A         E   $0.00
 Robb,lohn M D                                                 Syracuse                10/1/2013       10/1/2016        $0.00
 Rochester Community Orthopaedics                              ;Syracuse '             10/1/2013'      10/1/2016:       $0.00
 Rochester Gynecologic &Obstetrics Associates, PC -Lattimore Rd Syracuse                #N/A           #NJA             $0.00
 Rochester Gynecologic &Obstetrics Associates, PC -Pittsford    Syracuse               10/1/2013',     10/1/2016E       $0.00
 Saratoga Hair Transplant Center                               Buffalo                 8/13J2010       8/13J2025        $0.00
:Saratoga Hospital                                            ,' Syracuse              12/1/2016',     5/21/2021E       $0.00
 Saratoga Hospital Clinics                                     Syracuse                4/12/2017       3/31/2022        $0.00
~SCH St. Joseph Campus                                        ;Buffalo       ',        8/13/20101,     8/13/2025(       $0.00
 Scheier, Neil MD                                              Syracuse                 ##N/A          #NJA             $0.00
 Schenectady Center for Rehabilitation and Nursing             Syracuse                 1/1/2018!        1/1/2019       $0.00
 Sedona Holistic Medical Centre                                Syracuse                 #NJA           #NJA             $0.00
;Shire at Culverton Adult Home                                 Syracuse 'I              #N/A           #N/A         ~   $0.00
 Simmons, Brady, & Loi Oral Surgery                            Syracuse                 #NJA           #N/A             $0.00
'Sisters of Charity Hospital                                  'Buffalo                 8/13/2010        8/13/2025',     $0.00
 SJH Card+alogy Associates                                     Syracuse                  #N/A         #N/A              $0.00
 SJHHC CardioJanus (6723)                                     'Troy               ',   10/3/2013',    11/30/20211       $0.00
 SJHHC CSD                                                     Syracuse                4/21J2008       4/21J2013        $0.00
', SJHHC Dialysis -Camillus                                    Syracuse                10/3/2013]     ,.1,1/30/2021;    $0.00
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  S1NHC Direct Sale                                         Syracuse      10/3J2013      11/30J2021       $0.00
  SJHHC Family Medicine Center (6861)                    '. Syracuse   '; 10/3/2013      11/30/2021;      $0.00
  SJHHC Hemo -Seneca                                        Syracuse       2/3/2014 None                  $0.00
 °S1HHC Hyperbaric (7397)                                ',Syracuse        2/3/2014 None                  $0.00
  SJHHC NE Hemo                                             Syracuse      10/3/2013      11/30/2021       $0.00
  SJHHC NE Sleep Lab (7431)                              (Syracuse    '~!  2/3/2014:None              k   $0.00
  SJNNC NE Surgery Center (6836)                            Syracuse       2/3/2014 None                  $0.00
~ SJHHC North Surgery Center (6835)                         Troy      ', 10/3/2013'      11/30/2021[      $0.00
  S1HHC OB Clinic OBC {6865)                                Syracuse      10/3/2013      11/30/2021       $0.00
  SJHHC OPT (7512)                                       ,Syracuse   ', 10/3/2013!       11/30/2021'..    $0.00
  SJHHC PAT                                                 Syracuse      10/3I2fl13     11/30/2021.      $0.00
i S1HHC Primary Care -James St                           'Syracuse ',       #N/A          #N/A            $0.00
 S1HHC Primary Care (6725)                                  Syracuse       1J1/2015         1J1/2020      $0.00
 SJHHC RE Dialysis                                       '; Syracuse       1/1/2015,        1/1/2020<     $0.00
 SJHNC Sleep lab -Janus Park                                Syracuse       1/1/2015         1/1/2020      $0.00
 SJHHC Therapy 4th Floor                                 'Syracuse ',      1/1/2015',       1/1/2020.,    $0.00
 SJP UpsCate Surgical Group, PC                             Syracuse       1/1/2015         1/1J2fl20     $0.00
 SNY Surgery Center                                      (Syracuse         1/1/2015',       1/1/20201     $0.00
 Solvay Fire Department                                     Syracuse       2/1/2019        2/1/2022       $0.00
(Southgate Medical Group                                 'Syracuse '       2/2/2011;      #N/A        E   $0.00
 Southwest Vermont Medical Center                           Syracuse        #N/A          #N/A            $0.00
 Spectrum Radiology Associates, PLLC                        Syracuse 10/15/2008',        12/31/2021       $0.00
 St. Joseph's Hospital Health Center                      Syracuse       #N/A             #N/A            $0.00
  St. Joseph's Physicians                                ::Syracuse    , #N/A             #N/A            $0.00
  St. Peter's Surgery and Endoscopy Center                Syracuse      1/2/2014           1/2/2019       $0.00
  StEMC Anci l lary                                      'Syracuse  ',  1/1/2015'           1/1/2020!     $0.00
  Stephan, V11±Iliarn N. PC                               Syracuse       #N/A             #N/A            $0.00
  SVMC CLR Direct Sale                                   .:Syracuse ',   #N/A             #N/A      E     $0.00
  SVMC Direct Sale                                        Syracuse       #N/A             #N/A            $0.00
  SVMC Sleep Lab                                         '!Syracuse     3/5/2004,         9/24/20141      $0.00
  Syracuse Educational Opportunity Center                 Syracuse     2/28/2017          2/28/2021       $0.00
€ Syracuse Endosocopy Associates                          Syracuse  ', 10/3/2016'         10/3/2021;      $0.00
 Syracuse Fire Chief Office                               Syracuse       #N/A            #NJA             $0.00
'Syracuse Fire Department -Airport                       'Syracuse  ', 2/23/2017          2/23/2020£      $0.00
 Syracuse Surgery Center                                  Syracuse       #N/A            #N/A             $0.00
 Syracuse University                                      Syracuse       #N/A    ',      #N/A             $0.00
 Texas Medical Diagnostics, inc. -Sleep Center            Syracuse     5/29J2012          b/29/2015       $0.00
;The Center for Wound Care and Hyperbaric Medicine       .:Syracuse      #N/A    ',      #N/A             $0.00
 The Centers at St. Camillus                              Troy          9/1J2d13           9/1/2014       $0.00
'TR Penrick Enterprises, Inc. -RAGS                      ',Syracuse ,    #N/A            #N/A             $0.00
 Tri County family Medicine                               Syracuse       #N/A             #N/A            $0.00
 Trocaire College                                         Syracuse      1/1/2019            1/1/2021;     $0.00
~ UBMD Surgery                                            Syracuse     2/15/2008           2/15/2013      $0.00
  U MMC Batavia Family Care                              :Syracuse ' 2/15/2008'            2/15/2013'=    $0.00
  U MMC Jerome ARU                                        Syracuse     2/15/2008          2J15/2013       $0.00
  U MMCJerome Dietary                                    .Syracuse '     #N/A    ',       #N/A            $0.00
  U MMC Jerome Urgent Care Radiology                      Syracuse       #NJA             #N/A            $0.00
'UMMC Le Roy Diagnostics                                 ',Syracuse ',   #N/A             #N/A       '    $0.00
  U MMC Medina Women's Care                               Buffalo     12/21J201S         12/21/2018       $0.00
  U MMC Physical Therapy                                 '.Buffalo '! 12/21/2015',       12/21/2018;      $0.00
  U nited Memorial Medical Center                         Buffalo       9J1J2014           8/1/2017       $0.00
;University at Buffalo Surgeons -Vascular Surgery        'Buffalo  ', 12/21/2015',       12/21/2018;      $0.00
  U niversity Cardiovascular Associates                   Syracuse       #N/A            #N/A             $0.00
~ UniversityGastroenterology                             'Troy     '; 12/1/2016,          5/21/2021F      $0.00
  U niversity Surgical Associates, LLP                    Syracuse     4J12/2017          3/31/2022       $0.00
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                                           -     __~_.    _ _         _~ .    __             __.    ~__
                     ~ ~ Ambulatory Surgery Center
    Upstate Orthopedits                                          Syracuse ~ 11/26/2014'      11/26/2017'..   $0.00
    U pstate University Hospital -Community Campus - NYSID       Syracuse      5/1/2014       4(30J2019      $0.00
  i URMC Specialty Services                                      Buffalo     8/13/2010:       8/13/2025 `:   $0.00
    U UH CC Breast Care Center-OHACMS, PC                        Syracuse      #N/A          #N/A            $0.00
` UUH CC Contract Labor - NYSID                                 ,Troy          1/1/2018',      1/1/2019!     $0.00
    U UH CC Mops - NYSID                                         Syracuse      #N/A          #N/A            $0.00
 = UUH CC Satel l ites - NYSID                                   Syracuse ',   4/2/2012!      4/2/2015       $0.00
    U UH CC Sleep Center - NYSID                                 Syracuse      #N/A          #NJA            $0.00
'UUH CC University Otolaryngology at Fayetteville               ,Buffalo     8/13/20101      8/13/2025'      $0.00
   U UN CC University Otolaryngology at Liverpool                Syracuse    7/10/2014        1/8J2017       $0.00
   U UH CC University Pulmonary &Sleep Medicine                 Syracuse     7/10/2014        1/8/2017;      $0.00
   U UH CC West Outpatient - Velasko Rd - NYSID                  Syracuse       7/10/2014     1/$J2017       $0.00
F UUH Lab Coats                                                  Syracuse       7/10/20141    1/8/2017       $0.00
   U UH Manlius Health Center - NYSID                            Syracuse       7/10/2014     1/8/2017       $0.00
   UUH University Physicians Hem/Onc & Rheumatology             'Syracuse ',    7/10/2014:    1/8/2017€      $0.00
   U UH Upstate Cardiology West                                  Syracuse       7/10/2014     1/8/2017       $0.00
  Vascular Surgeons of CNY                                      .:Syracuse      7/10/2014     1/8/2017'      $0.00
  Vega Aesthetic &Reconstructive Surgery                         Syracuse       7/10/2014     1/8/2fl17      $0.00
  WCHoB Direct Sale                                             'Syracuse       7/10/2014     1/8/2017;      $0.00
  WCHoB Women's OB/GYN Health Center                             Syracuse       7/10/2014     1/8/2017       $0.00
  Wesley Gardens Direct Sale                                    iilSyracuse     7/10/2014,     1/8/2017      $0.00
  Wesley Gardens Nursing Home                                     Syracuse      7J10/2014      1/8/2017      $0.00
, White, Laurel M. MD                                           ',Syracuse ',   7/10/2014,     1/8/2017£     $0.00
  WHN Whittier Pace Assisted Living Center                        Syracuse      7/10/2014      1/8/2017      $0.00
WHN Whittier Rehabilitation &Skilled Nursing Center             ;,Syracuse      7/10/2014'     1/8/2017;     $0.00
